         Case 1:21-cv-00445-CJN Document 195-3 Filed 10/05/23 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                    )
US DOMINION, INC., et al.           )
                                    )
            Plaintiffs,             )           Case No. 1:21-cv-00445-CJN
                                    )              Judge Carl J. Nichols
      v.                            )
                                    )
MY PILLOW, INC., et al.             )
                                    )
            Defendants.             )
________________________________________________________________________

                   [PROPOSED] ORDER GRANTING WITHDRAWAL OF
                       COUNSEL OF RECORD FOR DEFENDANTS

         Before this Court is Parker Daniels Kibort LLC’s Motion to Withdraw as Counsel of

Record for Michael J. Lindell and My Pillow, Inc. and Lewin & Lewin, LLP’s joinder in the

Motion with respect to its representation of My Pillow, Inc.

         The Court, after reviewing the memoranda, declaration, and all other related papers, finds

that the moving parties have shown good cause exists for withdrawal, that withdrawal would not

result in delay to the trial date or unfair prejudice to the parties.

         Accordingly, Parker Daniels Kibort LLC’s and Lewin & Lewin, LLP’s Motions to

Withdraw as Counsel are hereby GRANTED.

                                                 SO ORDERED:

Dated:
                                                 Carl J. Nichols
                                                 United States District Judge
